                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Eastern District of Wisconsin

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                                                      August 17, 2018

The Honorable J.P. Stadtmueller
U.S. District Court
517 E. Wisconsin Ave.
Milwaukee, WI 53202

               Re:    United States v. Ionel Muresanu, Case No. 18-CR-129
                      Update to Witness List

Dear Judge Stadtumueller:

        The United States submits the following updated witness list for the trial of United States
v. Ionel Muresanu:

          Det. Brett Robertson of the Oshkosh Police Department
          Det. April Hinke of the Oshkosh Police Department
          Sergeant Brandon Ansell of the Oshkosh Police Department
          Detective Dean Artus of the Oshkosh Police Department
          Zachary M. Hoalcraft, Special Agent, United States Secret Service
          Matthew Palmieri
          Shawna L. Edwards
          Detective John Milotzky, Wauwatosa PD
          Brandi Woodard, First Tennessee Bank

                                              Sincerely,

                                              MATTHEW D. KRUEGER
                                              United States Attorney

                                      By:     /s

                                              Karine Moreno-Taxman
                                              Carol L. Kraft
                                              Assistant United States Attorneys

cc:    Attorney Joshua Uller (via ECF)




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